      Case: 22-16993, 05/30/2023, ID: 12724465, DktEntry: 31, Page 1 of 5




                          No. 22-16993
                                    IN THE




                           FOR THE NINTH CIRCUIT


                       PATRICK CALHOUN, ET AL.,
                                                            Plaintiffs-Appellants,
                                      v.

                               GOOGLE, LLC,
                                                            Defendant-Appellee.

              On Appeal From The United States District Court
                  For The Northern District of California
                      Hon. Yvonne Gonzales Rogers
                         No. 4:20-cv-05146-YGR

DEFENDANT-APPELLEE GOOGLE, LLC’S STATUS REPORT
    REGARDING MATTERS ON LIMITED REMAND

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           Case: 22-16993, 05/30/2023, ID: 12724465, DktEntry: 31, Page 2 of 5




                                  STATUS REPORT

      Pursuant to the Court’s March 31, 2023 order granting Defendant-Appellee

Google, LLC’s (“Google”) motions for limited remand, Dkt. 30, Google respectfully

submits the following status report notifying the Court that the district court has now

resolved all issues on remand:

      1.       On January 19, 2023, Google filed a motion pursuant to Federal Rule

of Appellate Procedure 12.1, requesting a limited remand to allow the district court

to rule on Google’s motion for relief from certain data preservation obligations. Dkt.

7-3. Google’s January 19, 2023 motion for limited remand was fully briefed on

February 6, 2023. See Dkt. 21.

      2.       On March 3, 2023, Google filed a motion pursuant to Federal Rule of

Appellate Procedure 12.1, requesting a limited remand to allow the district court to

consider and clarify whether its December 12, 2023 order granting Google’s motion

for summary judgment applies to six “dormant” claims that had been set aside at the

outset of the case. Dkt. 24. Google’s March 3, 2023 motion for limited remand was

fully briefed on March 28, 2023. See Dkt. 28.

      3.       On March 31, 2023, this Court granted Google’s motions, and

remanded the case to the district court “for the limited purposes of ruling on: (1) the

remaining requests in the motion for relief regarding preservation and (2) the scope




                                           1
           Case: 22-16993, 05/30/2023, ID: 12724465, DktEntry: 31, Page 3 of 5




of the summary judgment order.” Dkt. 30. The Court stayed briefing in this appeal,1

and directed that “[w]ithin 14 days after the district court’s rulings, appellee shall

file a status report and/or motion for appropriate relief.” Id.

      4.       On April 12, 2023, Magistrate Judge van Keulen ruled on Google’s

pending motion for relief regarding preservation, resolving all remaining requests in

that motion. Case No. 4:20-cv-5146-YGR-SVK (“District Court”) Dkt. 1011.

      5.       On April 12, 2023, the parties jointly filed a stipulation and proposed

order concerning the scope of the district court’s summary judgment ruling. District

Court Dkt. 1013. Specifically, the parties stipulated that “the Court’s [summary

judgment] Order applies to and dismisses all claims, including the Dormant Claims.”

Id. at 1. The parties further stipulated that “If the Court deems it necessary, the

Parties agree to append the following language to line 11 of page 27 of the [summary

judgment] Order”:

               “Following limited remand from the Ninth Circuit, the Court clarifies
               that this Order applies to all claims asserted in Plaintiffs’ First Amended
               Complaint, including the six “Dormant Claims.” Counts 1 (the federal
               Wiretap Act), 2 (Invasion of Privacy), 10 (Unjust Enrichment), and 12
               (the California Computer Data Access and Fraud Act) are dismissed,
               following Plaintiffs’ stipulation. Counts 15 (punitive damages) and 16
               (declaratory judgment) are terminated because Plaintiffs may not
               recover punitive damages or obtain injunctive relief in the absence of
               any other live cause of action.” Id. at 2.


1
 Prior to the stay in briefing, Appellants’ brief was due on May 8, 2023, Google’s
answering brief was due on June 7, 2023, and Appellants’ optional reply brief was
due 21 days from the date of service of Google’s answering brief. Dkt. 26.
                                          2
           Case: 22-16993, 05/30/2023, ID: 12724465, DktEntry: 31, Page 4 of 5




      6.       On May 16, 2023, Judge Gonzalez Rogers so-ordered the parties’ April

12, 2023 stipulation, District Court Dkt. 1018, and re-issued the December 12, 2022

summary judgment order with the stipulated language added to line 11 of page 27,

District Court Dkt. 1019.

      7.       As detailed above, the district court has now issued rulings resolving

all issues on limited remand from this Court.


Dated: May 30, 2023                    Respectfully submitted,

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                                           3
          Case: 22-16993, 05/30/2023, ID: 12724465, DktEntry: 31, Page 5 of 5




                          CERTIFICATE OF SERVICE


      I, Andrew H. Schapiro, hereby certify that on May 30, 2023, I electronically

filed the foregoing status report with the Clerk of the Court for the United States

Court of Appeals for the Ninth Circuit by using the CM/ECF system, which will

send notification of such filing to all counsel of record registered in the CM/ECF

system.

                                            /s/ Andrew H. Schapiro
                                             Andrew H. Schapiro
